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 6
     DEREK LOFLIN
 7

 8

 9
                           UNITED STATES DISTRICT COURT
10                        EASTERN DISTRICT OF CALIFORNIA
11

12
     DEREK LOFLIN,                             Case No.:

13
                   Plaintiffs,                 PLAINTIFF’S COMPLAINT
           v.                                  (Unlawful Debt Collection Practices)
14
     CAPITAL ONE BANK (USA) N.A.,
15
                   Defendant.
16

17

18
           DEREK LOFLIN (Plaintiff), by his attorney, alleges the following against
19

20         CAPITAL ONE BANK (USA) N.A., (Defendant):

21      1. Plaintiff brings this action on behalf of himself individually seeking damages
22
           and any other available legal or equitable remedies resulting from the illegal
23
           actions of Defendant, in negligently, knowingly, and/or willfully contacting
24

25         Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone


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        Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq and
 1

 2      in violation of California’s Rosenthal Fair Debt Collection Practices Act
 3
        (hereinafter “RFDCPA”), Ca Civ. Code § 1788.17.
 4

 5                             JURISDICTION AND VENUE
 6
     2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.
 7
        §227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740
 8

 9      (2012), holding that federal and state courts have concurrent jurisdiction over

10      private suits arising under the TCPA.
11
     3. Venue is proper in the United States District Court for the Eastern District of
12
        California pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within
13

14      this District and a substantial part of the events or omissions giving rise to the
15
        herein claims occurred, or a substantial part of property that is the subject of
16
        the action is situated within this District.
17

18
                                        PARTIES

19   4. Plaintiff is a natural person residing in Tulare County, in the city of
20
        Porterville, California.
21
     5. Defendant is a Virginia corporation doing business in the State of California
22

23      with its principal place of business located in McLean Virginia.

24   6. At all times relevant to this Complaint, Defendant has acted through its agents
25
        employees, officers, members, directors, heir, successors, assigns, principals,

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        trustees, sureties, subrogees, representatives and insurers.
 1

 2                          FACTUAL ALLEGATIONS
 3
     7. Defendant is a “person” as defined by 47 U.S.C. § 153 (10).
 4
     8. Defendant placed collection calls to Plaintiff seeking and attempting to
 5

 6
        collect on alleged debts incurred through purchases made on credit issued by

 7      Defendant.
 8
     9. Defendant placed collection calls to Plaintiff’s cellular telephone at phone
 9
        number (559) 359-32XX.
10

11   10. Defendant places collection calls to Plaintiff from phone numbers including,

12      but not limited to (800) 955-6600.
13
     11. Per its prior business practices, Defendant’s calls were placed with an
14
        automated dialing system (“auto-dialer”).
15

16   12. Defendant used an “automatic telephone dialing system”, as defined by 47
17      U.S.C. § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect
18
        a consumer debt allegedly owed by Plaintiff, DEREK LOFLIN.
19

20
     13. Defendant’s calls constituted calls that were not for emergency purposes as

21      defined by 47 U.S.C. § 227(b)(1)(A).
22
     14. Defendant’s calls were placed to a telephone number assigned to a cellular
23
        telephone service for which Plaintiff incurs a charge for incoming calls
24

25      pursuant to 47 U.S.C. § 227(b)(1).


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     15. Defendant never received Plaintiff’s “prior express consent” to receive calls
 1

 2      using an automatic telephone dialing system or an artificial or prerecorded
 3
        voice on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 4

 5   16. On June 29, 2017, Plaintiff called into Defendant’s company at phone number
 6
        (800) 955-6600. Plaintiff spoke with Defendant’s male representative and
 7
        requested that Defendant cease calling Plaintiff’s cellular phone.
 8

 9   17. During the conversation, Plaintiff gave Defendant his social security number

10      and date of birth to assist Defendant in accessing his account before asking
11
        Defendant to stop calling his cell phone.
12
     18. Plaintiff revoked any consent, explicit, implied, or otherwise, to call his
13

14      cellular telephone and/or to receive Defendant’s calls using an automatic

15      telephone dialing system in his conversation with Defendant’s representative
16
        on June 29, 2017.
17
     19. Despite Plaintiff’s request to cease, Defendant placed another collection call
18

19      to Plaintiff on June 30, 2017.
20
     20. Defendant continued to place collection calls to Plaintiff.
21
     21. Despite Plaintiff’s request that Defendant cease placing automated collection
22

23
        calls, Defendant placed at least one hundred seventy-four (174) automated

24      calls to Plaintiff’s cell phone.
25


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                    FIRST CAUSE OF ACTION
 1
       NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
 2                     PROTECTION ACT
                         47 U.S.C. § 227
 3

 4   22. Plaintiff repeats and incorporates by reference into this cause of action the
 5
        allegations set forth above at Paragraphs 1-21.
 6
     23. The foregoing acts and omissions of Defendant constitute numerous and
 7

 8      multiple negligent violations of the TCPA, including but not limited to each
 9      and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
10
     24. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
11

12
        Plaintiff is entitled to an award of $500.00 in statutory damages, for each and

13      every violation, pursuant to 47 U.S.C. §227(b)(3)(B).
14
     25. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
15
        the future.
16

17
                  SECOND CAUSE OF ACTION
     KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
18               CONSUMER PROTECTION ACT
                      47 U.S.C. § 227 et. seq.
19

20
     26. Plaintiff repeats and incorporates by reference into this cause of action the
21
        allegations set forth above at Paragraphs 1-21.
22

23
     27. The foregoing acts and omissions of Defendant constitute numerous and

24      multiple knowing and/or willful violations of the TCPA, including but not
25


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             limited to each and every one of the above cited provisions of 47 U.S.C. §
 1

 2           227 et seq.
 3
          28. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
 4
             227 et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages,
 5

 6
             for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

 7           U.S.C. § 227(b)(3)(C).
 8
          29. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
 9
             the future.
10

11                       THIRD CAUSE OF ACTION
               DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT
12                     COLLECTION PRACTICES ACT
13
                           CA CIV CODE § 1788.17

14        30. Plaintiff repeats and incorporates by reference into this cause of action the
15
             allegations set forth above at Paragraphs 1-29.
16
          31. Defendant violated the RFDCPA based on the following:
17

18              a. Defendant violated the §1788.17 of the RFDCPA by continuously

19                  failing to comply with the statutory regulations contained within the
20
                    FDCPA, 15 U.S.C. § 1692 et seq.
21
     //
22

23   //
24   //
25


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                             PRAYER FOR RELIEF
 1

 2      WHEREFORE, Plaintiff, DEREK LOFLIN, respectfully requests judgment
 3
     be entered against Defendant, CAPITAL ONE BANK (USA) N.A., for the
 4
     following:
 5

 6
                            FIRST CAUSE OF ACTION

 7   32. For statutory damages of $500.00 multiplied by the number of negligent
 8
        violations of the TCPA alleged herein (174); $87,000.00;
 9
     33. Actual damages and compensatory damages according to proof at time of
10
        trial;
11
                           SECOND CAUSE OF ACTION
12

13
     34. For statutory damages of $1,500.00 multiplied by the number of knowing

14      and/or willful violations of TCPA alleged herein (174); $261,000.00;
15
     35. Actual damages and compensatory damages according to proof at time of
16
        trial;
17                            THIRD CAUSE OF ACTION
18
     36. Declaratory judgment that Defendant’s conduct violated the Rosenthal Fair
19
        Debt Collection Practices Act;
20
     37. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
21
        Collection Practices Act, Cal. Civ. Code §1788.30(b);
22
     38. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt
23
        Collection Practices Act, Cal. Civ Code § 1788.30(c), and;
24
     39. Actual damages and compensatory damages according to proof at time of
25
        trial;

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 1

 2                          ON ALL CAUSES OF ACTION
 3   40. Actual damages and compensatory damages according to proof at time of
 4      trial;
 5   41. Costs and reasonable attorneys’ fees, and;
 6   42. Any other relief that this Honorable Court deems appropriate.
 7                                 JURY TRIAL DEMAND
 8   43. Plaintiff demands a jury trial on all issues so triable.
 9

10                                         RESPECTFULLY SUBMITTED
11

12   Dated: April 26, 2018                 By: /s/ Alyson J. Dykes
                                           Alyson J. Dykes
13
                                           Attorney for Plaintiff
14                                         DEREK LOFLIN
15

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